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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------- x
PHYTO TECH CORP. d/b/a BLUE CALIFORNIA,             :
                                                    :
                              Plaintiff,                               Civil Action No. ______
                                                    :
                                                    :
v.                                                                     COMPLAINT
                                                    :
                                                    :
                                                    :
GIVAUDAN SA,                                        :
                                                    :
                              Defendant.            :
                                                    :
--------------------------------------------------- x


       Plaintiff Phyto Tech Corp. d/b/a Blue California (“Blue Cal”) alleges as follows for its

complaint against Givaudan SA (“Givaudan”).

                                PRELIMINARY STATEMENT

       1.      This is an action seeking appointment of a liquidating trustee to wind up BGN

Tech LLC (“BGN”) pursuant to the provisions of the Limited Liability Company Agreement of

BGN Tech LLC Dated as of February 21, 2014 (the “BGN LLC Agreement”) and 6 Del. C. §

18-802. Blue Cal and Givaudan are the sole members of BGN, which was dissolved on October

29, 2018, when Givaudan sent a notice of dissolution. The parties have agreed on the selection

of Sherwood Partners, Inc. (“Sherwood”) as the Liquidating Trustee but have been unable to

agree on a voluntary process for winding up the company. Blue Cal therefore seeks an order

confirming the appointment of Sherwood as Liquidating Trustee and court supervision over the

wind up.

                                         THE PARTIES

       2.      Plaintiff Blue Cal is a California corporation with its principal place of business at

30111 Tomas, Rancho Santa Margarita, California 92688.
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       3.      Defendant Givaudan SA is a company organized under the laws of Switzerland,

with a principal place of business at 5, Chemin de la Parfumerie, 1214 Vernier, Switzerland.

       4.      Non-Party BGN Tech LLC is a limited liability company organized and existing

under the laws of the State of Delaware with its principal office at 30111 Tomas, Rancho Santa

Margarita, California 92688.

       5.      Givaudan and Blue Cal are the two members of BGN under the BGN LLC

Agreement. A copy of the BGN LLC Agreement is attached as Exhibit A.1 At all relevant

times, Blue Cal has been a 51% owner of BGN, and Givaudan has been a 49% owner of BGN.

                                 JURISDICTION AND VENUE

       6.      The Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332

because the action is between a citizen of a State and the subject of a foreign state and the

amount in controversy is in excess of $75,000.

       7.      Givaudan is subject to personal jurisdiction in New York because Givaudan has

consented to this Court’s jurisdiction under the terms of the mandatory forum selection clause at

Section 14.11 of the BGN LLC Agreement. Ex. A at § 14.11.

       8.      Venue is proper in this District because pursuant to Section 14.11 of the BGN

LLC Agreement, any legal action, suit, or proceeding arising out of or relating to the agreement

shall be instituted in any state or federal court in the State of New York located in the County of

New York.

                                              FACTS




1
 Exhibit A is redacted in accordance with redactions previously stipulated between Givaudan
and Blue Cal in related actions.



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       9.      On February 21, 2014, Blue Cal and Givaudan executed the BGN LLC

Agreement. Ex. A.

       10.     BGN was formed as a joint venture between Blue Cal and Givaudan for the

express purpose of developing, manufacturing, marketing, and/or selling certain products. Ex.

A, Preamble.

       11.     The BGN LLC Agreement established a Board of Directors (the “Board”), set at

five members and containing the following: (i) two members designated by Givaudan (the

“Givaudan Directors”); (ii) two members designated by Blue Cal (the “Blue Cal Directors”); and

the individual serving as Chief Executive Officer of BGN (the “CEO Director”). BGN LLC

Agreement, §7.02(a). The Board was invested with “full, exclusive and complete discretion,

power and authority to manage, control, administer and operate the business and affairs of the

Company and its Subsidiaries.” Ex. A §7.01.

       12.     The BGN LLC Agreement also established that it was to be construed under the

laws of the state of Delaware, and that any legal action, suit, or proceeding arising out of or

relating to the Agreement would be instituted in any state or federal court in the State of New

York. Ex. A §§14.10-11.

       13.     Blue Cal and Givaudan, along with non-parties Conagen Inc. and SweeGen, Inc.,

are currently engaged in multiple separate litigations relating to business disputes between the

parties, including in the operation of BGN: two actions pending in the U.S. District Court for the

Southern District of New York, Nos. 1:18-cv-06172 and 1:18-cv-03588, one action pending in

the Supreme Court of the State of New York for the County of New York, Index No.

653038/2018 (the “New York State Action”), and one action pending in the Superior Court of

the State of California for the County of Orange, Case No. 30-2018-00999862-CU-BC-CJC (the




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“California State Action”). The state court actions are derivative actions brought by Givaudan in

the name of BGN.

       14.    Article XIII of the BGN LLC Agreement provides the procedure for the

dissolution and wind up of BGN, including the priority of distributions of BGN’s assets to be

administered by a liquidator chosen by the members. Ex. A at §§ 13.01-08.

       15.    The events of dissolution are defined in Section 13.01:

       Section 13.01 Dissolution. Notwithstanding anything to the contrary contained
       herein, the Company shall be dissolved and its affairs wound up upon the first to
       occur of any of the following events:

       (a) the consent of the Board pursuant to Section 7.06 or Section 7.09, as
       applicable;

       (b) the entry of a decree of judicial dissolution under Section 18-802 of the Act;

       (c) a Bankruptcy Event with respect to the Company;

       (d) any Bankruptcy Event or Change of Control of a Member, its Controlling
       Affiliates or any other Affiliate that is a party to any Ancillary Agreement (such
       Member, the “Affected Member”), if the other Member (the “Non-Affected
       Member”), shall have delivered written notice of its election to terminate this
       Agreement at any time within sixty (60) days after becoming aware of such
       Bankruptcy Event or Change of Control, as applicable;

       (e) at the election of any Member upon written notice to the other Members
       within thirty (30) days after the failure of the Resolution Representatives to
       resolve a dispute in respect of a Significant Matter within the period set forth in
       Section 14.08; or

       (f) at the election of a non-breaching Member, if there has been a Material Breach
       of the Agreement by the other Member, which breach is not waived by non-
       breaching Member or cured by the breaching Member within sixty (60) days after
       receipt by breaching Member of written notice thereof from the non-breaching
       Member; provided, that the Member seeking to dissolve the Company pursuant to
       this Section 13.01(f) is not then in Material Breach of its obligations under this
       Agreement.

       16.    During wind up, Section 13.02 of the BGN LLC Agreement vests the power to act

on behalf of BGN in a Liquidator, not the members:



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       Upon the dissolution of the Company as provided in Section 13.01, the business
       and affairs of the Company shall be wound up by a liquidating trustee (a
       “Liquidator”) chosen by the mutual agreement of Givaudan and Blue Cal. In
       performing its duties, the Liquidator is authorized to sell, assign, encumber or
       otherwise dispose of any or all of the assets of the Company and to wind up and
       liquidate the affairs of the Company in an orderly and business-like manner;
       provided, however, that, except as required under applicable law in order to
       satisfy any liabilities of the Company or its Subsidiaries to any creditors, the
       Liquidator shall not sell, distribute, exchange or otherwise dispose of the
       Contributed IP, Blue Cal Contributed IP, the Givaudan Contributed IP, the Blue
       Cal Background Licensed IP or the Blue Cal Future Licensed IP except in
       accordance with the provisions of Section 13.03 and Section 13.06 below. The
       Liquidator shall cause to be prepared and distributed to the Members a statement
       of the assets and liabilities of the Company (on a consolidated basis) as of the date
       of dissolution.

       17.     By letter dated October 28, 2018, Givaudan gave notice of dissolution pursuant to

Section 13.01(e) and (f) of the BGN LLC Agreement. Ex. B. Blue Cal denies that it has

breached the BGN LLC Agreement, justifying dissolution under Section 13.01(f); however,

BGN has been dissolved pursuant to Section 13.01(e).

       18.     On December 20, 2018, Givaudan sued Blue Cal in the Southern District of New

York, Civil Action No. 1:18-cv-12027-JGK, purporting to seek court assistance to compel

selection of the Liquidator. Blue Cal notified Givaudan that the lawsuit was unnecessary. The

parties agreed on the appointment of Sherwood Partners as the Liquidator, and Givaudan

dismissed the action on May 3, 2019.

       19.     The parties have engaged in several rounds of negotiations regarding the

mechanics of the wind up, with both parties making proposals to vary from the BGN LLC

Agreement and create a liquidating trust to be administered by the Liquidator. While the

negotiations have been ongoing, Givaudan has continued to prosecute the state derivative

actions, even though it has no authority to do so during the wind up period.

       20.     On September 11, 2019, Blue Cal sent a letter to Givaudan, stating that unless it

heard otherwise, Blue Cal would assume that the parties were at an impasse on the terms of a


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liquidating trust agreement and seek court intervention. A copy of this letter is attached as

Exhibit B. In addition, Blue Cal explained that, per the BGN LLC Agreement, “only the

Liquidator has the power to prosecute and settle litigation in the name of BGN. Givaudan can no

longer speak or act in the name of the dissolved company.” Ex. B. at 2.

       21.     On September 20, 2019, Givaudan responded with a proposal that would permit it

to maintain control of the New York and California State Court Actions, strip the Liquidator of

discretion as to when to distribute funds and otherwise grant rights to Givaudan to which it is not

entitled under the BGN LLC Agreement. Blue Cal has rejected the proposal.

       22.     All efforts to resolve the matter amicably have failed, and Blue Cal now seeks a

Court order appointing Sherwood Partners as the Liquidator.

                              COUNT I
       APPOINTMENT OF LIQUIDATOR PURSUANT TO 6 DEL. C. § 18-801(a)

       23.     Blue Cal incorporates each of the preceding paragraphs as if fully set forth herein.

       24.     BGN is a Delaware LLC created pursuant to the Delaware Limited Liability

Company Act, 6 Del. C., Ch. 18.

       25.     A Delaware LLC “is dissolved and its affairs shall be wound up upon the first to

occur” of one of the events described in 6 Del. C. § 18-801(a), including “[u]pon the happening

of events specified in a limited liability company agreement.” 6 Del. C. § 18-801(a)(2).

       26.     On October 29, 2018, Givaudan sent a notice of dissolution pursuant to Section

13.02 of the BGN LLC Agreement.

       27.     The notice effected dissolution under Section 13.01(e) of the BGN LLC

Agreement, and BGN has been dissolved.




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       28.     The administration of a dissolved LLC under Delaware law is governed by 6 Del.

C. § 18-803, which permits the manager or members to wind up the company “[u]nless

otherwise provided in a limited liability company agreement . . . .” 6 Del. C. § 18-1803(a)(3).

       29.     Section 13.02 of the BGN LLC Agreement provides for the joint selection of a

Liquidating Trustee, who is the sole entity with the power to act on behalf of BGN following

dissolution.

       30.     Givaudan proposed Sherwood Partners as the Liquidating Trustee, and Blue Cal

has accepted the appointment of Sherwood Partners.

       31.     Upon information and belief, Sherwood Partners stands ready to accept the

appointment, but cannot do so unless the Court issues an order delineating the duties of

Sherwood Partners and the terms of payment, as is customary upon the appointment of a

liquidating trustee under Delaware law.

       32.     Pursuant to 6 Del. C. § 18-803(a), upon good cause shown, the Court may appoint

a liquidating trustee to carry out a wind up under the Court’s supervision.

       33.     There is good cause to appoint a liquidating trustee. The BGN Agreement

provides for the appointment of such a trustee, and the parties have been unable to agree on the

terms of appointment. Without Court supervision, the parties will be unable to wind up BGN.

                                    PRAYER FOR RELIEF

       WHEREFORE, Blue Cal respectfully requests the following relief:

       A.      That the Court enter an order appointing Sherwood Partners as the Liquidating

Trustee under the BGN LLC Agreement with the customary powers of a liquidating trustee;

       B.      A declaration that the sole party entitled to act on behalf of BGN during wind up

is the Liquidating Trustee;




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        C.      Costs and expenses incurred and to be incurred by Blue Cal in connection with

 this action, including reasonable attorneys’ fees; and

        D.      Such other relief as the Court deems equitable and just.

DATED: September 27, 2019
                                                          /s/ Katherine A. Helm

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